Case 2:04-Cv-02085-.]PI\/|-tmp Document 44 Filed 08/04/05 Page 1 of 2 Page|D 57

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UNITED STATES DISTRICT COURT 05 AuG '
WESTERN DISTRICT oF TENNESSEE "* "" 3‘ '2

WESTERN DIVISION WMF‘S M. GGULD

NC nr~
.1;

TAMMIE JACKSON, Individually
and as Next of Kin and
Administrator of the

Estate of Katheryn Jackson, JUDGMENT IN A CIVIL CASE
VS
'I`HE HAMMER CORPORATION,

VILLAGE CONSUMER PRODUCTS,
and AAA PHARMACEUTICAL, INC. CASE NO: 04-2085 Ml/P

 

Upon dismissal of the remaining claims by the Plaintiff:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order
Granting Summary' Judgment of Defendant The Hammer Corporation
entered February 23, 2005, and the Stipulation cf Dismissal
pursuant to Federal Rule of Civil Procedure 41(a)(l)(ii) entered
August 4, 2005, this case is DISMISSED without prejudice.

AP PROVED :

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JO PHIPPS MCCALLA
ITED STATES DISTRICT COURT

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with Rule 5a and/or 79(a) FHGP on 5 'f 'C

 

 

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UNITED

 

August 4, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

